                          UNITED STATE DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI

Elliot Conrad Dale, individually and on behalf
of all other similarly situated,

                      Plaintiff,

v.                                                          Case No. 4:22-CV-00334-HFS

GlaxoSmithKline PLC, and GlaxoSmithKline
LLC,

                      Defendant.


                        NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff Elliot Conrad Dale, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

hereby voluntarily dismisses this action against Defendants GlaxoSmithKline PLC and

GlaxoSmithKline LLC.



                                                     Respectfully submitted,

                                                     /s/ Rex A. Sharp
                                                     Rex A. Sharp, MOB #51205
                                                     SHARP LAW, LLP
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                                                     Prairie Village, KS 66208
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                                                     Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE
        I hereby certify that on August 30, 2022, a true and correct copy of the above and foregoing
document was served in accordance with the Local Rules on all counsel of record via the Court’s
electronic filing system.


                                                     /s/ Rex A. Sharp
                                                     Rex A. Sharp




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